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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION


  In re:                                                      CASE No. 17-23426-PGH

                      ROBERT MATTHEWS                                 Chapter 11

                                       Debtor
                                                    /


            EB-5 CREDITORS’ MOTION TO WITHDRAW REFERENCE TO THE
           BANKRUPTCY COURT FOR ADVERSARY COMPLAINT [DE 93] AND
                              RELATED MATTERS

           Creditors, LAN LI, YING TAN, TAO XIONG, JUNQIANG FENG, RAN CHEN,

  XIANG SHU, HAO LOU, XIANG CHUNHUA, KUANG YAOPING, BEI ZHU, QIONG

  DENG, QIONGFANG ZHU, ZHILING GAN, CUILIAN LI, YULONG TANG, LILI ZHANG,

  SHUANGYUN WANG, WENHAO ZHANG, SHA SHI, LIYAN FENG, SHAOQING ZENG,

  MIN CUI, RUJI LI, QINGYUN YU, LING LI, YINGJUN YANG, BAOPING LIU, DAQIN

  WENG, XIAOPING ZHANG, SHAOPING HUANG, YI ZHAO, CHANGYUE LIU, YAJUN

  KANG, CHENGYU GU, YAN CHEN, DONGSHENG ZHU, RUJING WEI, ZHAOHUI LI,

  JUEWEI ZHOU, MIN LI, CHUNNING YE, HONGRU PAN, FENG GUO, ZHENG YU,

  TINGTING SUN, XIAO SUN, YAWEN LI, TONGHUI LUAN, LI ZHANG, YUANBO

  WANG, SHU JIANG, YING FEI, LI DONGSHENG, TANG CHEOK FAI, XIAONAN

  WANG, MOHAMMAD ZARGAR, SHAHRIAR EBRAHIMIAN, REZA SIAMAK NIA,

  SARA SALEHIN, SANAZ SALEHIN, ALI ADAMPEYRA, MOHAMMADREZA

  SEDAGHAT, and HALIL ERSEVEN (the “Movants”), move the Court pursuant to 28 U.S.C.

  §157(d), Federal Rule of Bankruptcy Procedure 5011, and Local Rule 5011-1, to withdraw the

  automatic reference to the United States Bankruptcy Court for the Southern District of Florida
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  (the “Bankruptcy Court”) of the listed claims of Movants in this case and the adversary

  proceeding in this case [DE 93, Case No. 18-01046] to challenge the dischargeability of those

  claims in deference to the adjudication of the claims pending in the United States District Court

  for the Southern District of Florida in Case No. 9:16-cv-81871-KAM between Movants and

  multiple defendants, including the Debtor, and say:

                                         INTRODUCTION

         Movants are victims of a $50,000,000 fraud, theft, and conspiracy, in which a web of

  individuals, primarily based in Palm Beach County, Florida, and including the Debtor, preyed on

  foreign nationals, including the Movants, desirous of obtaining visas allowing them to leave

  foreign countries, such as China, Iran and Turkey to provide their families with the opportunity

  for a better life in the United States through the United States Customs and Immigration

  Service’s (“USCIS”) EB-5 program. Claims to redress those frauds, thefts and conspiracy are

  now pending in the United States District Court for the Southern District of Florida in Case No.

  9:16-cv-81871-KAM (the “Civil Action”) in which all 63 of the Movants and 29 defendants,

  including the Debtor, his wife and an entity listed on the Debtor’s Amended Schedules as 99%-

  owned by the Debtor and his wife, are parties.

         As alleged in the Amended Complaint in the Civil Action, the defendants, including the

  Debtor, conspired to fraudulently induce Movants each to invest $500,000, plus a $40,000-

  $60,000 “administrative fee,” claiming that the investment would qualify them under the EB-5

  program administered by the USCIS to obtain visas allowing them to immigrate to the United

  States. The investment that the defendants were using in their fraud was a purported Palm Beach

  real estate project known as the “Palm House Hotel” which, in reality, was nothing more than a

  façade pursuant to which Movants’ funds were stolen and distributed among the conspirators.

  The Amended Complaint (27 counts, 103 pages, 547 paragraphs) with Exhibits (359 pages) is


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  voluminous, but can be viewed in the PACER function of the United States District Court for the

  Southern District of Florida CMECF system for Case No. 9:16-cv-81871-KAM at DE-181 and

  as an Exhibit to the Adversary Complaint to Determine Nondischargeability of Debts, DE 93, as

  to which it is sought to have the reference removed. All of the defendants in the Civil Action

  have fully pleaded and the case is eligible to be set for trial.

          Only 17 of the 27 counts of the Amended Complaint in the Civil Action name the Debtor,

  individually, as a defendant, but the counts are interrelated and the factual and legal issues are

  inextricably intertwined. It would be difficult, if not impossible, to continue to prosecute the

  claims against the other defendants without trying all the same issues and claims in this case.

  This is because the Debtor was one of two masterminds behind the fraud and his actions either

  directed or influenced the fraudulent actions of all of the other defendants in the Civil Action.

  Moreover, it would be a waste of the resources of this Court to adjudicate claims that will

  necessarily be adjudicated by the district court in adjudicating the claims of the other 28 alleged

  conspirators.

          The 63 Movants each advanced $500,000, plus an administrative fee ranging from

  $40,000 to $60,000 to participate in this EB-5 project. Their investments were to be held in

  escrow until their individual I-526 immigration petitions (“I-526s”) were granted. I-526s are the

  initial petitions filed by each investor with the USCIS by which he or she seeks the approval of a

  conditional EB-5 visa. The approval of the I-526s is the critical first step to obtaining a

  permanent visa under the program. The money was to be returned in full to any Movant whose

  individual I-526 was denied. Conversely, as I-526s were granted for any Movant (and only after

  the I-526s were granted), that Movant’s funds were to be made available to fund the Palm House

  Hotel project. Movants were told that this would only happen for any Movant after the




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  developer’s invested capital and an alleged preexisting bank loan had been used up. The

  developer of the Palm House Hotel was the Debtor, who was represented to be a “famous”

  American real estate developer who had himself invested $22 million in the project. All of the I-

  526s were denied. None of the Movants’ money was returned. Instead, as Movants later

  discovered, the money was not even placed in a real escrow account. Instead, a fake escrow

  account was created, the Movants’ money was placed into it and was disbursed almost

  immediately after it was received, with the bulk of the money dissipated by the defendants,

  including the Debtor.

         Robert Matthews, a married man, filed this case individually on November 6, 2017. The

  Notice of Chapter 11 Bankruptcy Case [DE 16] was filed on November 14, 2017, and set the

  §341 First Meeting of Creditors for December 8, 2017. The deadline to object to discharge or to

  challenge whether certain debts are dischargeable was February 6, 2018. The deadline for filing

  proofs of claim is March 8, 2018.

         All of the Movants’ claims are listed on [DE 22], pp. 20 et seq (Official Form 106E/F,

  pp. 2 et seq) filed by the Debtor in this case. They can be found under the subheading “Part 2,

  List All of Your NONPRIORITY Unsecured Claims.” Each such claim is listed as unknown in

  amount as well as contingent, unliquidated and disputed. Each is also specified as grounded upon

  “Alleged securities fraud.” The District Court will be adjudicating the validity, amount and legal

  basis of each claim in the aforementioned Civil Action in the United States District Court,

  Southern District of Florida.

                                           ARGUMENT

         28 U.S.C. §157(d) provides, in pertinent part:

         The district court may withdraw, in whole or in part, any case or proceeding
         referred under this section, on its own motion or on timely motion of any party,



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          for cause shown. The district court shall, on timely motion of a party, so withdraw
          a proceeding if the court determines that resolution of the proceeding requires
          consideration of both title 11 and other laws of the United States regulating
          organizations or activities affecting interstate commerce.

  A. Mandatory Withdrawal

          There are basically two different approaches used in determining whether withdrawal is

  mandatory. In re American Body Armor & Equip., Inc., 155 B.R. 588, 590 (M.D. Fla. 1993).

  First, the “literal theory” advocates reading the statute literally. Id. Consequently, the district

  court must withdraw the reference if the proceeding requires consideration of both title 11 and

  “other laws of the United States regulating organizations or activities affecting interstate

  commerce.” Id. Withdrawal prevails “regardless of the substantiality of the legal questions

  presented.” Id. Without examining the non-bankruptcy code issues, however, section 157(d) may

  be used as an “escape hatch” for matters Congress meant to be referred to the bankruptcy courts.

  Id. Recognizing the “escape hatch” argument, the second approach considers the magnitude of

  the effect of non-bankruptcy code federal law on the proceeding. To withstand scrutiny under the

  second approach, the federal issues raised must warrant “substantial and material consideration.”

  Id.

          Under either approach, given the complexity of Movants’ claims and the need to resort to

  substantial and material consideration of non-bankruptcy law to resolve them, mandatory

  withdrawal of the reference is warranted. As noted above, Movants have filed an Amended

  Complaint in the Civil Action, which contains 27 counts against 29 defendants. Only 17 of the

  27 counts of the Amended Complaint in the Civil Action name the Debtor, individually, as a

  defendant, but the counts are interrelated and the factual and legal issues are inextricably

  intertwined. The gravamen of the Civil Action is securities fraud relating to offerings made to

  Chinese, Iranian, and Turkish Victims. The resolution of Movants’ claims and the dozens of



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  defenses raised by Debtor and his co-conspirators will require substantial and material

  consideration of the federal securities laws. Without withdrawal of the reference, the Bankruptcy

  Court would be required to engage in significant interpretation, and decide myriad questions of

  federal securities law. The reference should be withdrawn because resolution of the proceeding

  requires substantial and material consideration of the federal securities laws.

  B. Permissive Withdrawal

         Alternatively, permissive withdrawal of the reference is warranted. Permissive

  withdrawal is within the discretion of the district court. See, e.g., In re Tucker, 2012 WL

  4090677 (Bankr. S.D. Fla. Sept. 17, 2012) (citation omitted). The Eleventh Circuit has suggested

  that certain factors be considered when determining what constitutes “cause”: (1) advancing

  uniformity in the administration of bankruptcy law; (2) prevention of forum shopping; (3)

  conservation of the parties’ resources; and (4) facilitation of the bankruptcy process. Id. (citation

  omitted). Other factors considered by the courts include (1) whether the claim is core or non-

  core; (2) efficient use of judicial resources; (3) a jury demand; and (4) prevention of delay. Id.

  (citation omitted).

         The aforementioned factors weight in favor of granting the instant Motion. First, the

  claims at issue are non-core claims. The core/non-core dichotomy delineates proceedings

  between those arising under Title 11 and all other claims. “Core proceedings” encompass those

  proceedings that would not exist at law in the absence of the Bankruptcy Code. See, e.g., In re

  Certified HR Servs. Co., 2008 WL 9424996, at *3 (S.D. Fla. May 30, 2008). Movants’ claims are

  rooted in state law and the federal securities laws, and do not arise from Title 11; they are,

  therefore, non-core proceedings.




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             Second, withdrawal of the Reference will conserve both judicial and the parties’

  resources. The thrust of the Court's inquiry under this element is whether withdrawal of the

  reference will prevent the parties and the court from expending unnecessary resources in

  disposing of this action. When a district court reviews a bankruptcy court's decision in a core-

  proceeding, it applies traditional appellate review to its findings. 28 U.S.C. § 158(a); Fed. R.

  Bank. P. 8013. However, when the district court reviews a bankruptcy court's decision in a non-

  core proceeding, the bankruptcy court must submit proposed findings of fact and conclusions of

  law to the district court for a de novo review. 28 U.S.C. § 157(c)(1); Fed. R. Bank. P. 9033(d).

  This creates a two-step process that, if resolved in the district court in the first instance, would be

  reduced to a one-step process. Further, this two-step process would add to the resources already

  expended by the District Court in analyzing and presiding over the same claims against Debtor’s

  co-conspirators in the Civil Action. Importantly, Debtor has already consented to lifting the

  bankruptcy stay and allowing Movants to prosecute the Civil Action. [DE 81, ¶ 3]. By

  withdrawing the reference and allowing the parties to litigate all matters in the District Court, the

  Bankruptcy Court is able to conserve scarce resources and the district court can ensure that it

  does not duplicate efforts already expended by the Bankruptcy Court.

             Third, withdrawal of the Reference will advance uniformity in the administration of

  bankruptcy law and the facilitation of the bankruptcy process. The judgment in the Civil Action

  would resolve the issues of the validity and amount of all of Movants’ claims against the Debtor,

  as well as their dischargeability. The Debtor is allegedly liable to Movants for conversion of over

  $30 million of their money1 and damaging them through fraud in the inducement of the sale of

  investment contracts, violation of the Florida Blue Sky Law, and violation of Sections 10(b) and



  1
      Nondischargeable under 11 USC §523(a)(2)(A) and (a)(4).


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  20 of the Securities Exchange Act.2 While the Debtor, as the developer of the Palm House Hotel,

  is a central figure in the Civil Action, there are 28 other defendants. And Movants’ claims

  against Debtor involve the same facts and legal theories that must be litigated against the other

  defendants in the Civil Action. If the District Court denies the instant Motion, and allows the

  bankruptcy court to adjudicate Movants’ claims against Debtor and the dischargeability of same,

  the parties could be exposed to inconsistent factual and legal findings in the Civil Action.

  Specifically, the Bankruptcy Court would be required to make factual and securities laws

  findings in support of its rulings on Movant’s claims and dischargeability based on the novel

  facts and circumstances presented. To avoid this, the Court should withdraw the entire reference,

  which will allow the District Court to try all of the issues at once, saving the parties the expense

  of litigating their case twice and the risk of inconsistent orders. In sum, relieving the Bankruptcy

  Court of the burden of evaluating Movants’ claims and the dischargeability of same will serve

  the interests of justice, ensure uniformity in the administration of the laws against Debtor and the

  other defendants, and facilitate a consistent and streamlined bankruptcy process.

             Finally, Movants have demanded a jury trial in the Civil Action, and Movants have a

  right to jury trial of these claims. Bankruptcy courts are not authorized to conduct jury trials

  absent express consent of the parties pursuant to 28 U.S.C. § 157(e). In general, where a party

  does not consent to a jury trial before a bankruptcy court and timely seeks a withdrawal of the

  reference, the automatic reference of the matter to the bankruptcy court must be withdrawn and

  the matter tried before a United States District Court. Control Center, L.L.C. v. Lauer, 288 B.R.

  269, 279 (M.D. Fla. 2002) (“[U]nless [defendant] consents to trial by jury before the bankruptcy

  court . . . this matter must be transferred to the district court.”).



  2
      All nondischargeable under 11 USC §523(a)(19).


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                                           CONCLUSION

         For the reasons stated above, the Court should withdraw the automatic reference to the

  United States Bankruptcy Court for the Southern District of Florida of the listed claims of

  Movants in this case and the adversary in this case [DE 93] (Case No. 18-01046) to challenge the

  dischargeability of those claims in deference to the adjudication of the claims pending in the

  United States District Court for the Southern District of Florida in Case No. 9:16-cv-81871-

  KAM between Movants and multiple defendants, including Debtor.

                                     RECORD OF THE CASE

         Local Rule 5011-1(B) requires a designation of those portions of the record of the case or

  proceeding that will reasonably be necessary or pertinent to the District Court’s consideration of

  this Motion. Movants designate their Motion to Lift Stay and Abstain from Adjudication of

  Validity and Amount of Claims and their Dischargeability [DE 62], Debtor’s Response in

  Opposition [DE 81], and Movant’s Complaint to Determine Nondischargeability [DE 93] in this

  bankruptcy proceeding and the entire docket in the Civil Action, Case No. 9:16-cv-81871-KAM

  in the United States District Court Southern District of Florida.

         WHEREFORE, Movants respectfully request that the Court enter an order withdrawing

  the reference to the United States Bankruptcy Court for the Southern District of Florida of the

  listed claims of Movants in this case and the adversary proceeding in this case [DE 93] (Case No.

  18-01046) to challenge the dischargeability of those claims in deference to the adjudication of

  the claims pending in the United States District Court for the Southern District of Florida in Case

  No. 9:16-cv-81871-KAM, and granting such other and further relief that the Court deems just

  and proper.

  Dated this 28th day of February, 2018.




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